IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

KENDRA DUBERRY,
Individually and on behalf of all
others similarly situated

 

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)
)
Plaintiff, )
Vv. ) 1:16CV 1446
)
ABSOLUTE CARE STAFFING )
HEALTH AGENCY, INC., )
)
)

Defendant.

FINAL ORDER AND JUDGMENT

Plaintiff Kendra Duberry, Individually and on behalf of all others similarly
situated, and Defendant Absolute Care Staffing Agency, Inc. have jointly moved
the Court for an order granting final approval to the class action settlement in this
case, which received preliminary approval on October 31, 2017, [Doc. #25], and
Plaintiff has petitioned the Court for an award of attorneys’ fees and expenses and
an incentive payment. Presently before the Court is a Joint Motion for Final
Approval of Class Action and Collective Action Settlement [Doc. #37], Plaintiff's
Amended Motion for Approval of Attorneys’ Fees and Costs [Doc. #45], and
memoranda in support of both motions, and the Court has considered those papers
and all exhibits thereto.

Distribution of the Notice of Proposed Class Action Settlement and Final
Fairness and Approval Hearing, Claim Form, and Request for Exclusion Form
directed to the Class Members has been completed in conformity with the

Preliminary Approval Order, including individual notice to all Class Members who

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could be identified through reasonable effort, and constitutes the best notice
practicable under the circumstances. The Notice provided due and adequate notice
of the proceedings and of the matters set forth therein, including the proposed
Settlement, to all persons entitled to such Notice, and the Notice fully satisfied the
requirements of due process. In addition, the notice included the details of a
hearing scheduled to determine whether the settlement should be approved as fair
and adequate to the class and to hear any objections.

On March 2, 2018, this Court held the hearing on final approval of the
settlement and was advised that no objection to the proposed settlement had been
filed. At that hearing, the Court continued the matter for fourteen (14) days to
allow for counsel to attempt to contact more class members. Counsel did attempt
to contact more class members and were successful. (See Declaration of Scott E.
Brady [Doc. #53].)

The Court has considered the factors set forth in In re Jiffy Lube Sec. Lit.,

 

927 F.2d 155, 158-59 (4" Cir. 1991), in determining the fairness of the
settlement and has considered the factors set forth in Barber v. Kimbrell’s, Inc.,
977 F.2d 216, 226 (4th Cir. 1978), in evaluating the request for attorneys’ fees.
After consideration of all appropriate factors, the arguments of the parties, and the
factors set forth in the respective motions and responses, this Court finds:

1) The notice to potential members of the class, as required by

Federal Rule of Civil Procedure 23, is adequate and sufficient and
complies with Rule 23 and the requirements of due process.

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2) The settlement resulted from serious, informed, noncollusive,
arm’s length negotiations.

3) The settlement is in all respects fair and adequate.

4) Approval of the settlement and attorneys’ fees is reasonable and
should be allowed for the reasons stated in Plaintiff’s motions.

IT IS THEREFORE ORDERED that the Joint Motion for Final Approval of
Class Action and Collective Action Settlement [Doc. #37] and Plaintiff's Amended
Motion for Approval of Attorneys’ Fees and Costs [Doc. #45] are GRANTED,
subject to the following terms and conditions:
1) Defendant Absolute Care Staffing Health Agency, Inc. shall pay
attorneys’ fees in the amount of $19,427.82 and litigation
expenses in the amount of $1,474.95 to Plaintiff Counsel, Bohrer

Brady, LLC and Crumley Roberts; and

2) Plaintiff Kendra Duberry is awarded an incentive award in the
amount of $1,000.

This is a final judgment of the Court. However, the Court will retain
jurisdiction over any post-judgment issues that may arise from this action.
IT IS SO ORDERED.

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This the YO Gay of March, 2018.

 
  

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